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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                              BOWLING GREEN DIVISION

 SAAP ENERGY, INC. and                     )
 SAIBABU APPALANENI,                       )
                                           )
       Plaintiffs,                         )
                                           )
 v.                                        )     Case No.: 1:12:cv-00098-TBR
                                           )
 RICKY BELL, individually,                 )      JOINT MOTION FOR ENTRY
 MAX BELL, individually,                   )       OF AGREED ORDER OF
 REBELL OIL OF KY, LLC,                    )     DISMISSAL WITH PREJUDICE
 ENERGY ENDEAVORS, LLC,                    )   AS TO ENERGY ENDEAVORS, LLC
 MARTIN KLEINMAN, individually,            )
 FALCON ENERGY GROUP, LLC                  )
 And DANNY BASIL, individually,            )
                                           )
       Defendants.                         )
 ______________________________________________________________________________

        COMES NOW the Plaintiffs, SAAP Energy, Inc., and Saibabu Appelaneni, by counsel, and

 the Defendant, Energy Endeavors, LLC, by counsel, and herein move the Court to enter the attached

 Agreed Order of Dismissal with Prejudice as to only the Defendant, Energy Endeavors, LLC.

        So jointly moved this 1st day of October, 2012.

 /s/ Daniel N. Thomas                               /s/ W.Currie Milliken
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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing was filed via the Court’s ECF
 System and was placed in the U.S. Mail, first class, postage prepaid, addressed to the following on
 this the 1st day of October, 2012:

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                                                     /s/ Daniel N. Thomas
                                                     Daniel N. Thomas

                                                     /s/ W. Currie Milliken
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